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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

  LUIS MANUEL RODRIGUEZ, et al.
                                              Plaintiffs,   Case No.: 1:20-cv-23287(DPG)(AMO)

                            v.                                  NOTICE OF APPEARANCE
                                                                          OF
  IMPERIAL BRANDS PLC, et al.                                    DAVID W. BERENTHAL
                                   Defendants.
  __________________________________________/


  To the clerk of court and all parties of record:

         PLEASE TAKE NOTICE, that DAVID W. BERENTHAL of BERENTHAL &

  ASSOCIATES, P.A., being admitted to practice law in the United States District Court for the

  Southern District of Florida, hereby appears in the instant proceeding on behalf of Plaintiffs Luis

  Manuel Rodriguez, Maria Teresa Rodriguez a/k/a Maria Teresa Landa, Alfredo Ramon Forns,

  Ramon Alberto Rodriguez, Raul Lorenzo Rodriguez, Christina Conroy, and Francisco Ramon

  Rodriguez. We respectfully direct that all pleadings, motions, notices, correspondences, and other

  papers in this proceeding be served upon undersigned counsel via E-Mail at dwb@berenthalaw.com.

  Dated: September 23, 2020

                                                 BERENTHAL & ASSOCIATES, P.A.


                                                 By:_______________________________________
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